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                       6
                                                         UNITED STATES DISTRICT COURT
                       7
                                                      NORTHERN DISTRICT OF CALIFORNIA
                       8

                       9     Staley, et al.,

                      10                                Plaintiffs,
                                                                            Civil Action No. 3:19-cv-02573-EMC
                      11     v.

                      12     Gilead Sciences, Inc., et al.,                 TEVA PHARMACEUTICALS USA,
                                                                            INC.’S NOTICE OF MOTION,
                      13                                Defendants.         MOTION TO DISMISS CVS’S AND
                                                                            WALGREEN’S COMPLAINTS, AND
                      14                                                    MEMORANDUM IN SUPPORT
                            This Document Relates to:                       THEREOF
                      15
                            CVS Pharmacy, Inc., v. Gilead Sciences, Inc.,
                      16    No. 3:21-cv-07378-EMC (CVS Action)              Hearing: January 6, 2022
                                                                            Time: 1:30 p.m.
                      17                                                    Courtroom: 5 – 17th Floor
                            Walgreen Co., v. Gilead Sciences, Inc.,         Judge: Honorable Edward M. Chen
                      18    No. 3:21-cv-07374-EMC (Walgreen Action)

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                       1                        NOTICE OF MOTION AND MOTION TO DISMISS

                       2           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                       3           PLEASE TAKE NOTICE that on January 6, 2022, at 1:30 p.m., or as soon thereafter as

                       4   this matter may be heard, in the United States District Court for the Northern District of

                       5   California, located at 450 Golden Gate Avenue, San Francisco, CA 94102-3489, in Courtroom 5

                       6   on the 17th Floor, before the Honorable Edward M. Chen, Defendant Teva Pharmaceuticals USA,

                       7   Inc. (“Teva”) will move the Court for an order dismissing, with prejudice, the claims filed by

                       8   CVS Pharmacy, Inc., Rite Aid Corporation, Rite Aid Hdqtrs. Corp., Walgreen Co., The Kroger

                       9   Co., Albertsons Companies, Inc., and H-E-B, L.P. (collectively, “Plaintiffs”) against Teva

                      10   premised on injuries that occurred outside the four-year statute of limitations. The Motion is

                      11   based on this Notice of Motion and Motion to Dismiss, the Memorandum of Points and

                      12   Authorities, all other pleadings and papers on file in this action, any other such matters upon

                      13   which the Court may take judicial notice, the arguments of counsel, and any other matter the

                      14   Court may properly consider.

                      15                                            RELIEF SOUGHT

                      16           Teva seeks dismissal, with prejudice, of the Plaintiffs’ pre-September 2017 claims under

                      17   Federal Rule of Civil Procedure 12(b)(6), as those claims rest on injuries outside the four-year

                      18   statute of limitations applicable to federal antitrust actions.

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                       1                          MEMORANDUM OF POINTS AND AUTHORITIES

                       2             As Plaintiffs recognize, federal antitrust actions are subject to a four-year statute of

                       3   limitations. Plaintiffs nevertheless seek to extend the statute of limitations as to all defendants,

                       4   including Teva, based on the prior filing of related class actions. Regardless of whether this

                       5   “class action tolling” principle applies with respect to entities who were named as defendants in

                       6   the earlier suits, it plainly does not apply to Teva, which was not a defendant in the prior class

                       7   actions. Thus, the Court should dismiss with prejudice Plaintiffs’ claims against Teva that stem

                       8   from alleged injuries predating September 22, 2017, four years prior to the filing of the current

                       9   action.

                      10                              STATEMENT OF ISSUES TO BE DECIDED

                      11             Whether the claims against Teva based on injuries that occurred before September 22,

                      12   2017 should be dismissed under Federal Rule of Civil Procedure 12(b)(6).

                      13                                        FACTUAL BACKGROUND

                      14             These cases are two in a series of related antitrust actions alleging that a set of drug

                      15   manufacturers engaged in an anticompetitive scheme with respect to drugs for human

                      16   immunodeficiency virus (“HIV”). As relevant here, on September 29, 2020, FWK Holdings,

                      17   LLC (“FWK”) filed a putative antitrust class action against a set of Gilead entities (Gilead

                      18   Sciences, Inc., Gilead Holdings, LLC, Gilead Sciences, LLC, and Gilead Sciences Ireland UC),

                      19   Bristol-Myers Squibb Company, and E.R. Squibb & Sons LLC (collectively, “FWK

                      20   Defendants”). See FWK Holdings, LLC v. Gilead Sciences, Inc., Case No. 3:20-cv-06793-EMC

                      21   (N.D. Cal.) (“FWK Complaint”). In broad strokes, the FWK Complaint alleges that the FWK

                      22   Defendants violated Sections 1 and 2 of the Sherman Act by engaging in anticompetitive conduct

                      23   surrounding combination antiretroviral therapy (“cART”) regimen drugs, commonly used to treat

                      24   HIV. See FWK Compl. ¶¶ 1-3. The FWK Complaint was filed on behalf of a putative class of

                      25   direct drug purchasers who allegedly “paid more for cART regimen drugs than they otherwise

                      26   would have paid in the absence of Defendants’ unlawful conduct and sustained damages in the

                      27   form of overcharges for their cART regimen drug requirements.” Id. ¶ 4. While the FWK

                      28   Complaint repeatedly refers to Teva and the litigation stemming from Teva’s efforts to seek
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                       1   approval for a generic HIV drug, see, e.g., id. ¶¶ 284-316, it does not name Teva as a defendant,

                       2   see id. ¶¶ 27-34. Nor does it name Teva as a “non-party co-conspirator,” whom the FWK

                       3   Complaint otherwise lists by name. Id. ¶¶ 35-41.

                       4          Plaintiffs here subsequently filed the two current cases on September 22, 2021. See Case

                       5   No. 3:21-cv-07374 (filed by Walgreen Co., the Kroger Co., Albertsons Companies, Inc. and H-E-

                       6   B, L.P.) (“Walgreen Compl.”); Case No. 3:21-cv-07378 (filed by CVS Pharmacy, Inc., Rite Aid

                       7   Corporation, and Rite Aid Hdqtrs. Corp.) (“CVS Compl.”) (collectively, the “Retailer

                       8   Complaints”). The Retailer Complaints raise substantially similar allegations as the FWK

                       9   Complaint, but for the first time name Teva as a defendant, along with Gilead Sciences, Inc.,

                      10   Gilead Sciences, LLC, and Bristol-Myers Squibb. As relevant here, the Retailer Complaints seek

                      11   to extend the four-year statute of limitations as to all defendants, including Teva, based on the

                      12   filing of the FWK Complaint. See Walgreen Compl. ¶ 288; CVS Compl. ¶ 286. Specifically, the

                      13   Retailer Complaints allege that “Plaintiffs are entitled to recover overcharges on purchases made

                      14   within the four years prior to the filing of the FWK Holdings case—i.e., on all purchases of the

                      15   Relevant Drugs or their generic equivalents made on or after September 29, 2016.” Id.

                      16   According to the Retailer Complaints, because Plaintiffs were putative members of the class in

                      17   FWK Holdings, the “filing of that action tolled the statute of limitations applicable to” Plaintiffs’

                      18   claims here. Id. Thus, the Retailer Complaints assert that, “without the benefit of any tolling

                      19   doctrine other than class action tolling,” Plaintiffs can extend the recovery period from September

                      20   22, 2017 (four years prior to the filing of the current suit) to September 29, 2016 (four years prior

                      21   to the filing of the FWK Holdings case). Id.

                      22                                              ARGUMENT

                      23          The Court should dismiss Plaintiffs’ claims against Teva that seek recovery for purported

                      24   injuries predating the four-year limitations period. See Hexcel Corp. v. Ineos Polymers, Inc., 681

                      25   F.3d 1055, 1059 (9th Cir. 2012) (“Antitrust actions must be commenced within four years from

                      26   the date when the causes of action accrue.”); see also 15 U.S.C. § 15b. An antitrust cause of

                      27   action “accrues and the statute begins to run when a defendant commits an act that injures a

                      28   plaintiff’s business.” In re Animation Workers Antitrust Litig., 87 F. Supp. 3d 1195, 1208 (N.D.
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                       1   Cal. 2015) (quoting Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 338 (1971)).

                       2   Thus, Plaintiffs cannot seek relief against Teva for alleged overcharges on purchases that were

                       3   made more than four years before the filing of the Retailer Complaints. 1

                       4           Plaintiffs recognize that their claims reach beyond the four-year statute of limitations.

                       5   Walgreen Compl. ¶ 288; CVS Compl. ¶ 286; see also KPH Order at 25 (“The fact that Plaintiffs

                       6   included in their complaints allegations in support of tolling the statute of limitations … is

                       7   essentially a concession that there is a facial time bar (at least in part).”). Plaintiffs nevertheless

                       8   argue that they can extend the statute of limitations as to all defendants, including Teva, based on

                       9   “class action tolling.” Walgreen Compl. ¶ 288; CVS Compl. ¶ 286. The principle of class action

                      10   tolling derives from the Supreme Court’s decision in American Pipe and Construction Co. v.

                      11   Utah, 414 U.S. 538 (1974), which held that the filing of a class action tolls the applicable statute

                      12   of limitations for members of the putative class. See 414 U.S. at 554; see also In re LIBOR-Based

                      13   Fin. Instruments Antitrust Litig., 2015 WL 6243526, at *138 n.163 (S.D.N.Y. Oct. 20, 2015)

                      14   (noting that “American Pipe tolling” is used “to refer specifically to the federal-law doctrine set

                      15   forth in American Pipe” while “class-action tolling” is used “to refer to the concept more

                      16   generally”). As the Supreme Court explained in American Pipe, because the filing of the initial

                      17   class action puts the defendants in that suit on notice of the claims against them, it mitigates the

                      18   unfairness that might otherwise result from extending the limitations period. See 414 U.S. at 554-

                      19   55.

                      20           But Plaintiffs cannot, as a matter of law, take advantage of class action tolling with respect

                      21   to Teva. It is well-established that American Pipe tolling does not extend the statute of

                      22   limitations for claims against a party, like Teva, that was not a named defendant in the prior case.

                      23   See Biotech. Value Fund, L.P. v. Celera Corp., 12 F. Supp. 3d 1194, 1205 (N.D. Cal. 2013). As

                      24   courts in this district have repeatedly recognized, American Pipe tolling is “limited to the

                      25   1
                             In one of the preceding direct-purchaser cases, this Court similarly granted a motion seeking
                      26   dismissal of claims resting on injuries outside of the limitations period. See Order Denying
                           Defendants’ Motion to Compel Arbitration, and Granting in Part and Denying in Part Defendants’
                      27   Motion to Dismiss, Case No. 19-cv-02573-EMC (N.D. Cal. Mar. 12, 2021) (“KPH Order”)
                           (dismissing without prejudice KPH Healthcare Services, Inc.’s “pre-October 2016
                      28   claims … based on the statute of limitations and KPH’s failure to adequately allege a fraudulent
                           concealment theory”).
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                       1   specific … entities named in the relied upon class actions.” Tech Data Corp. v. AU Optronics

                       2   Corp., 2012 WL 3236065, at *5 (N.D. Cal. Aug. 6, 2012). Circuit courts have likewise restricted

                       3   American Pipe tolling to claims against the defendants in the prior class action. See Wyser-Pratte

                       4   Mgmt. Co., Inc. v. Telxon Corp., 413 F.3d 553, 567-68 (6th Cir. 2005) (rejecting the argument

                       5   that American Pipe tolling extends to a previously unnamed defendant); Arneil v. Ramsey, 550

                       6   F.2d 774, 782 n.10 (2d Cir. 1977) (“[N]othing in American Pipe suggests that the statute be

                       7   suspended from running in favor of a person not named as a defendant in the class suit …[and a]

                       8   different conclusion would not comport with reason.”), overruled on other grounds by Crown,

                       9   Cork & Seal Co., Inc. v. Parker, 462 U.S. 345 (1983); cf. Wade v. Danek Med., Inc., 182 F.3d

                      10   281, 288 n.9 (4th Cir. 1999) (holding that a class action did not put unnamed defendants “on

                      11   sufficient notice” of the claims against them for purposes of equitable tolling). Indeed, Teva is

                      12   aware of “no authority behind the contention that the Court could or should apply American Pipe

                      13   to toll claims against a party not named as a defendant in any case that could toll an action.” In re

                      14   Cathode Ray Tube (CRT) Antitrust Litig., 2014 WL 1091095, at *4 (N.D. Cal. Mar. 13, 2014);

                      15   see also Biotech. Value Fund, 12 F. Supp. 3d at 1205-1206 (citing cases and following the “other

                      16   decisions that have declined to toll claims against defendants who were not named in the class

                      17   action”).

                      18          Applying this principle here, American Pipe tolling is plainly inapplicable to Plaintiffs’

                      19   claims against Teva. As noted, Teva was not named as a defendant in FWK Holdings. See FWK

                      20   Compl. ¶ 27-34; see also pp. 2-3, supra. Even assuming, as one court has suggested, that

                      21   American Pipe tolling might extend to those parties “named as defendants or coconspirators” in

                      22   the earlier class action, In re TFT-LCD (Flat Panel) Antitrust Litig., 2012 WL 3155693, at *3

                      23   (N.D. Cal. Aug. 2, 2012), here the FWK Complaint expressly lists the named coconspirators—

                      24   and that list does not include Teva. See p. 3, supra; see also FWK Compl. ¶¶ 35-41. Regardless

                      25   of whether Teva was referenced in the FWK Complaint, the caselaw uniformly requires that an

                      26   entity have been named as a defendant or coconspirator in the prior case in order to toll the statute

                      27   of limitations. See supra.

                      28          This rule makes sense. “[T]he filing of a timely class action provides defendants with
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                       1   notice” that they are being sued, avoiding the unfairness that would otherwise result from

                       2   extending the limitations period. In re Hanford Nuclear Reservation Litig., 534 F.3d 986, 1009

                       3   (9th Cir. 2008). That logic does not hold however, when a plaintiff seeks to sue a party not in fact

                       4   named as a defendant in the prior case. It is therefore irrelevant for purposes of American Pipe

                       5   tolling whether “the class plaintiffs could have asserted claims against” the previously unnamed

                       6   defendant. Wyser-Pratte Mgmt. Co., 413 F.3d at 568. Rather, the question is whether the

                       7   defendant was in fact named in the earlier complaint, thus putting the defendant on notice that it

                       8   was facing liability at that point. In line with this reasoning, courts have refused to consider

                       9   whether an unnamed defendant “was on notice of the claims sufficient to trigger American Pipe

                      10   tolling,” holding instead that American Pipe categorically does not extend to unnamed

                      11   defendants. In re Cathode Ray Tube (CRT) Antitrust Litig., 2014 WL 1091095, at *3.

                      12           If anything, tolling the statute of limitations would be particularly unfair here. The FWK

                      13   Complaint made abundantly clear that the plaintiff in that suit had chosen not to name Teva as a

                      14   defendant or coconspirator, as shown by the references to Teva in the body of the complaint but

                      15   the exclusion of Teva as a named defendant or coconspirator. Extending the limitations period

                      16   would thus create the precise unfairness the Supreme Court sought to avoid by tethering

                      17   American Pipe to cases where the “follow-on individual suit” would not “surprise defendants.” 2

                      18   In re Hanford, 534 F.3d at 1009.

                      19                                             CONCLUSION

                      20           For the foregoing reasons, the Court should dismiss with prejudice Plaintiffs’ claims

                      21   against Teva premised on injuries that predate September 22, 2017.

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                             Plaintiffs do not attempt to rely on the “relation-back” principle from Federal Rule of Civil
                      24   Procedure 15. Nor could they. Rule 15 provides that an “amendment to a pleading relates back
                           to the date of the original pleading when … the party to be brought in by amendment … knew or
                      25   should have known that the action would have been brought against it, but for a mistake
                           concerning the proper party’s identity.” Fed. R. Civ. P. 15(c)(1)(C)(ii). That rule does not extend
                      26   to the filing of a second, separate action, as it is not an amendment of the original pleading. See
                           Bailey v. N. Ind. Pub. Serv. Co., 910 F.2d 406, 413 (7th Cir. 1990) (“Rule 15(c), by its terms,
                      27   only applies to amended pleadings in the same action as the original, timely pleading.”).
                           Moreover, Teva’s omission as a named defendant from the prior class action was clearly not a
                      28   “mistake concerning the proper party’s identity” given the FWK Complaint’s repeated references
                           to Teva’s alleged involvement in the events underlying the suit. See p. 2, supra.
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                       1                                               Respectfully submitted,

                       2
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                       1                                    CERTIFICATE OF SERVICE

                       2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

                       3   United States District Court for the Northern District of California by using the CM/ECF system

                       4   on November 22, 2021. I further certify that all participants in the case are registered CM/ECF

                       5   users and that service will be accomplished by the CM/ECF system.

                       6          I certify under penalty of perjury that the foregoing is true and correct. Executed this

                       7   22nd day of November, 2021.

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                                                                                 /s/ Christopher T. Holding
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                                                                                 Christopher T. Holding
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